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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

               v.                     :       18-cr-323 (ABJ)

WILLIAM J. PHINIZY                    :



                        DEFENDANT’S EMERGENCY MOTION
                      FOR AN IMMEDIATE DETENTION HEARING

       Mr. Phinizy is a 49 year old decorated Army veteran charged with crimes against

property who has no prior record. He has been held without bond since his arrest on October 22,

2018, A detention hearing was scheduled for October 26, 2018, but not held because the

government requested a forensic screening. On January 21, 2019, the defense moved to dismiss

the case for a violation of the Speedy Trial Act. That motion remains pending.

       On February 22, 2019, Magistrate Judge Harvey began the detention hearing. The

defense requested release to HISP and the custody of Mr. Phinizy's parents who live in North

Carolina. Counsel represented that Mr. Phinizy’s parents could pick him up from the BOP

facility in Butner, North Carolina. After passing the case, the parties learned that Mr. Phinizy

had been moved from Butner, N.C., and the parties were unclear as to his location. For that

reason, Judge Harvey continued the hearing to February 25, 2019, at 3p.m. Mr. Phinizy is now

held at Piedmont Regional Jail and can be brought to court. His parent traveled from North

Carolina to the District of Columbia for the detention hearing that was scheduled to occur this

afternoon. Counsel has learned that this afternoon’s detention hearing was removed from the

Court’s calendar because at the same time Magistrate Judge Harvey was holding the detention

hearing on February 22, Magistrate Judge Robinson who was considering the Motion to Dismiss
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issued a minute order staying the detention hearing pending the resolution of the defendant's

motion to dismiss on speedy trial grounds, without further explanation. There is no reason to

delay the detention hearing while considering the motion to dismiss. Because Mr. Phinizy is

being unlawfully held without a detention hearing, he requests an immediate hearing.

Undersigned counsel is in trial before Judge Cooper today but can appear at 4:15 p.m.

                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                    /s/
                                             _____________________________
                                             MARY MANNING PETRAS
                                             Assistant Federal Public Defender
                                             625 Indiana Avenue, N.W., Suite 550
                                             Washington, D.C. 20004
                                             (202) 208-7500




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